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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
   U NITED S TATES OF A MERICA
                                        Criminal Action No.
         v.
                                        1:20-cr-00428-ELR-AJB-1
   M AURICE B ANKS



      Government’s Unopposed Motion to Continue Pretrial Conference

   The United States of America, by Kurt R. Erskine, Acting United States
Attorney, and Sekret T. Sneed, Assistant United States Attorney, for the Northern
District of Georgia, files this unopposed motion to continue the last day to file

pretrial motions, which is presently set for July 12, 2021, and the Pretrial
Conference that is presently set for July 15, 2021, at 3:15 p.m., for thirty (30) days.
For cause, the United States shows as follows:

   1. On November 9, 2020, a Grand Jury sitting in the Northern District of
Georgia, charged the defendant, Maurice Banks (“Defendant”) and three others,
with conspiracy, in violation of Title 18, United States Code, Section 371, and
charged the Defendant alone with two counts of theft of firearms from a federal
firearms licensee in violation of Title 18, United States Code, Section 922(u), in a
sealed indictment. (Doc. 1.) The indictment was unsealed on February 11, 2021.
(Doc. 43.)
   2. On February 11, 2021, the Defendant made his initial appearance and was
arraigned. (Doc. 45.)
        600 U.S. Courthouse, 75 Ted Turner Drive S.W., Atlanta, GA 30303
                        (404) 581-6000 fax (404) 581-6181
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   3. After a hearing, this Court ordered the Defendant detained pending trial
on February 17, 2021. (Docs. 50-51.)
   4. This Court originally set a pretrial conference for March 1, 2021, (Doc. 52),
which has been continued, based upon several prior requests, until July 15, 2021.
   5. Counsel for the government has trial scheduled to begin on July 12, 2021,
which is expected to last approximately two weeks, in front of Judge Cohen in
the matter entitled United States v. Beck, 1:19-cr-00184.
   6. Therefore, the government respectfully requests that the Court grant this

motion and continue the pretrial conference, and the last date for pretrial
motions to be filed, in the above-styled case and that the period of the extension
be excluded from computation under the Speedy Trial Act, pursuant to Title 18,
United States Code, Section 3161(h).
   7. Counsel for the government discussed this motion with Saraliene Durrett,
counsel for the Defendant, who does not oppose this motion.

   For these reasons, the government respectfully requests that the Court
continue the pretrial conference for thirty (30 ) days.

                                           Respectfully submitted,

                                           K URT R. E RSKINE
                                              Acting United States Attorney

                                       /s/S EKRET T. S NEED
                                              Assistant United States Attorney
                                           Georgia Bar No. 252939
                                           sekret.sneed@usdoj.gov
       600 U.S. Courthouse, 75 Ted Turner Drive S.W., Atlanta, GA 30303
                       (404) 581-6000 fax (404) 581-6181
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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using

the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.


July 11, 2021


                                         /s/ S EKRET T. S NEED

                                         S EKRET T. S NEED
                                         Assistant United States Attorney
